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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HOLT HEALTHCARE MANAGEMENT                          )
SERVICES, INC.,                                     )
on behalf of plaintiff and                          )
the class members defined herein,                   )
                                                    )
               Plaintiff,                           )       16 CV 7295
                                                    )       Judge Leinenweber
               v.                                   )
                                                    )
COMPREHENSIVE DECUBITUS                             )
THERAPY, INC., d/b/a ADVANCED TISSUE,               )
and JOHN DOES 1-10,                                 )
                                                    )
               Defendants.                          )

                                STIPULATION TO DISMISS

        Plaintiff Holt Healthcare Management Services, Inc. (“Plaintiff”) and Defendant
Comprehensive Decubitus Therapy, Inc., d/b/a Advanced Tissue (“Defendant”) by and through
their respective attorneys and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) hereby stipulate to the
dismissal of Plaintiff’s individual claims against Defendant with prejudice and without costs.
Plaintiff’s class claims against Defendant are dismissed without prejudice and without costs.
Plaintiff’s claims against John Does 1-10 are dismissed without prejudice and without costs. This
stipulation of dismissal disposes of the entire action.

Dated: March 14, 2017

Respectfully submitted,

HOLT HEALTHCARE MANAGEMENT                          COMPREHENSIVE DECUBITUS
MANAGEMENT SERVICES, INC.                           THERAPY, INC., d/b/a
                                                    ADVANCED TISSUE

/s/ Dulijaza Clark                                  /s/ Mark P. Miller
Daniel A. Edelman                                   Mark P. Miller
Dulijaza (Julie) Clark                              Barnes & Thornburg LLP
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                                CERTIFICATE OF SERVICE

        I, Dulijaza Clark, hereby certify that on March 14, 2017, I caused a true and accurate
copy of the foregoing document to be electronically filed with the Clerk of the United States
District for the Northern District of Illinois by filing through the CM/ECF system, which shall
cause service upon all counsel of record.



                                                    /s/ Dulijaza Clark
                                                    Dulijaza Clark




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